

Matter of Soohoo (2023 NY Slip Op 04474)





Matter of Soohoo


2023 NY Slip Op 04474


Decided on August 31, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 31, 2023

PM-196-23
[*1]In the Matter of Linda Soohoo, an Attorney. (Attorney Registration No. 2442572.)

Calendar Date:August 28, 2023

Before:Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and Fisher, JJ.

Linda SooHoo, Boston, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Linda SooHoo was admitted to practice by this Court in 1991 and lists a business address in Boston, Massachusetts with the Office of Court Administration. SooHoo now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose SooHoo's application.
Upon reading SooHoo's affidavit sworn to July 7, 2023 and filed July 13, 2023, and upon reading the August 21, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that SooHoo is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and Fisher, JJ., concur.
ORDERED that Linda SooHoo's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Linda SooHoo's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Linda SooHoo is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and SooHoo is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Linda SooHoo shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








